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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                   x
                                                     :
UNITED STATES OF AMERICA
                                                     :     PRELIMINARY ORDER OF
               - v. -                                      FORFEITURE/
                                                     :     MONEY JUDGMENT
PARKER H. PETIT,
                                                     :     19 Cr. 850 (JSR)
                        Defendant.
                                                     :
----------------------------------                   x

               WHEREAS, on or about November 25, 2019, PARKER H. PETIT (the

“Defendant”), and another were charged in an Indictment, 19 Cr. 850 (JSR) (the “Indictment”),

with conspiracy to commit securities fraud, to make false filings with the SEC, and to improperly

influence the conduct of audits, in violation of Title 18, United States Code, Section 371 (Count

One); and securities fraud, in violation of Title 15, United States Code, Section 78j(b) & 78ff; Title

17, Code of Federal Regulations, Section 240.10b-5; and Title 18, United States Code, Section 2

(Count Two);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One and

Two of the Indictment, seeking forfeiture to the United States, pursuant to pursuant to Title 18,

United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461, of all

property, real and personal, that constitutes or is derived from proceeds traceable to the

commission of the offenses charged in Counts One and Two of the Indictment, including but not

limited to a sum of money in United States currency representing the amount of proceeds traceable

to the commission of the offenses charged in Counts One and Two of the Indictment that the

defendants personally obtained;

               WHEREAS, on or about November 19, 2020, the Defendant was found guilty

following a jury trial, of Count Two of the Indictment;
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               WHEREAS, the Government asserts that $165,224 in United States currency

represents any and all property, real and personal, that constitutes or is derived from proceeds

traceable to the commission of the offense charged in Count Two of the Indictment that the

Defendant personally obtained,

               WHEREAS, the Government seeks a money judgment in the amount of $165,224

in United States currency representing the amount of proceeds traceable to the offense charged in

Count Two of the Indictment that the Defendant personally obtained; and

               WHEREAS, the Court finds that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count Two of the Indictment that the

Defendant personally obtained cannot be located upon the exercise of due diligence.

               NOW IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

               1.     As a result of the offense charged in Count Two of the Indictment, to which

the Defendant was found guilty following a jury trial, a money judgment in the amount of $165,224

in United States currency (the “Money Judgment”), representing the amount of proceeds traceable

to the offense charged in Count Two of the Indictment that the Defendant personally obtained,

shall be entered against the Defendant.

               2.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, PARKER H. PETIT,

and shall be deemed part of the sentence of the Defendant, and shall be included in the judgment

of conviction therewith.

               3.     All payments on the outstanding money judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
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York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s

Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               7.      The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.




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              8.     The Clerk of the Court shall forward three certified copies of this

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.

Dated: New York, New York
       February ____, 2021

                                           SO ORDERED:



                                           HONORABLE JED S. RAKOFF
                                           UNITED STATES DISTRICT JUDGE
